                      Case 3:21-cv-00453-JWD-EWD                                Document 1-2                08/06/21 Page 1 of 8


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                                                                        CITATION

PAUL COPELAN                                                                            NUMBER C-709550 SEC.22
(Plaintiff)
                                                                                        19th JUDICIAL DISTRICT COURT
 VS
                                                                                        PARISH OF EAST BATON ROUGE
 BECTON,DICKINSON AND COMPANY
(Defendant)
                                                                                        STATE OF LOUISIANA


 TO:       BECTON,DICKINSON AND COMPANY
           THROUGH ITS AGENT FOR SERVICE OF PROCESS,
           CT CORPORATION SYSTEM,
           3856 PLAZA TOWER DRIVE
           BATON ROUGE, LA 70816

 GREETINGS:

         Attached to this citation is a certified copy of the petition*. The petition tells you what you are being
 sued for.
         You must EITHER do what the petition asks OR, within fifteen(15)days after you have received
 these documents, you must file an answer or other legal pleading in the office of the Clerk of Court at
 300 North Boulevard, Baton Rouge, Louisiana. If you do not do what the petition asks, or if you do not file
 an answer or legal pleading within fifteen(15) days, a judgment may be rendered against you without further
 notice.
         This citation was issued by the Clerk of Court for East Baton Rouge Parish on JULY 14,2021.



                                                                                   •                   aria, ked_x_iit,
                                                                                                      Deputy Clerk ofCourtfor
                                                                                                      Doug Welborn, Clerk of Court
 Requesting Attorney: CRAFT,JILL L.
                    (225)663-2612

*The following documents are attached:
PETITION, VERIFICATION
                                                               SERVICE INFORMATION:

Received on the day of                  ,20                  and on the            day of                   ,20      served on the above named party as
follows:
PERSONAL SERVICE: On the party herein named at

 DOMICILIARY SERVICE: On the within named                                            ; by leaving the same at his domicile in this parish in the hands of
                     a person of suitable age and discretion residing in the said domicile at

 SECRETARY OF STATE: By tendering same to the within named, by handing same to

 DUE AND DILIGENT:                 After diligent search and inquiry, was unable to find the within named                           or his domicile, or anyone
 legally authorized to represent him.

 RETURNED: Parish of East Baton Rouge, this                    day of                   ,20       .


SERV10E:$
MILEAGES                                                                 Deputy Sheriff
TOTAL: $                                                         Parish of East Baton Rouge


                                                                          CITATION-2000




                                                                                                                                       EXHIBIT
                                                                                                                                         "A"
                    Case 3:21-cv-00453-JWD-EWD                                      Document 1-2                     08/06/21 Page 2 of 8
'EAST BATON ROUGE PARISH
  Filed Jul 13, 2021 10:13 AM
                                C-709550'
                                   22
     Deputy Clerk of Court




                                                          19TH JUDICIAL DISTRICT COURT
                                                          PARISH OF EAST BATON ROUGE
                                                                STATE OF LOUISIANA
                                                                                                                                       ff
                                               NUMBER:                                            DIVISION:"


                                                                          PAUL COPELAND
                                                                                    VERSUS
                                                     BECTON,DICKINSON AND COMPANY
                                   ******************************************************


                                                                                  PETITION
                         The Petition of Paul Copeland, a resident of the full age of majority of East Baton Rouge

                Parish, Louisiana, respectfully represents:

                                                                                           1.

                         Made defendant herein is Becton, Dickinson and Company, a foreign corporation

                 authorized and actually doing business in East Baton Rouge Parish, Louisiana, which is justly and

                truly indebted unto Petitioner for all sums as are reasonable under the premises,liquidated damages.

                 as allowed by law,attorney fees, all costs ofthese proceedings, legal interest thereon from the date

                 of demand until paid, and all such other reliefto which Petitioner is entitled at law or in equity.

                                                                                          2.

                         At all times pertinent. hereto, defendant was Petitioner's "employer" within the meaning

                 and intent of Louisiana and federal law and employed greater than five hundred (500)employees,

                 including Petitioner. At all times pertinent hereto, Petitioner was an "employee" of defendant

                 within the meaning and intent of Louisiana and federal law. Petitioner is fifty-one (51) years of

                 age.

                                                                                           3.

                        At all times pertinent hereto, Marie Ha, General Manager, Chad Cage, Manager, Ryan

                 Ireland, Manager, and Chris Spriggs, Superviior, were "employees" of defendant. Ha and Spriggs

                 had immediate and successfully higher authority over Petitioner.                                                    Cage and Ireland were

                 supervisors for defendant and had co-extensive supervisory authority as Petitioner.

                                                                                           4.

                        In July 2011,Petitioner began his employment with defendant as Territory Sales Manager in

                 East Baton Rouge Parish, Louisiana. At the time Petitioner was unlawfully terminated, he held

                 the position of Southeast District Manager in East Baton Rouge Parish, Louisiana. Throughout

                 Petitioner's employment with defendant, he enjoyed stellar performance reviews and was the

                                                                                            2.




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                Certified True and
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                  Correct Copy                                                       East Baton Rouge Parish
               CertID: 2021071400131                                                  Deputy Clerk of Court                                                7/14/2021 8:42 AM




                                 Alteration and subsequent re-filing of this certified copy may violate La. R.S. 14:132, 133, and/or RPC Rule 3.3(a)(3).
     Case 3:21-cv-00453-JWD-EWD                                     Document 1-2                     08/06/21 Page 3 of 8




recipient of numerous awards, including for his excellent performance regarding sales of the

"Arctic Sun," and its off-label use consistently promoted by defendant. Indeed, defendant.

 produced literature, held sales meetings, and issued directives to its employees to promote and sell

 Arctic Sun for off label use.

                                                                          5.

       Beginning after hire and continuing thereafter until his termination, Petitioner was subjected.

 to unwelcome,unabated age-based discrimination and harassment by defendant, consisting of, but

 not limited to, the following:

     a. Repeated and frequent, on at least a bi-weekly basis, age-based, derogatory statements by

          his supervisors referring to him as the "the old man of the bunch", that Petitioner "liked to.

          eat earlier in the evening beCause he was old", "he was up late on the dance floor because

          he was old;"

     b. Being constantly referred to by his supervisors as "Dad" and "silver fox";

     c. Repeated comments regarding Petitioner's functioning because of his age, such as

          comments that he could/could not perform certain tasks because he was "old",like an "old                                                        .

          dog"; and,

     d. Such other incidents as Will be more fully shown at trial.

                                                                       • 6.

          In early January 2021, Petitioner, who communicated to his supervisors that their

 comments regarding his age were unwelcome and/or offensive, was terminated from his

 employment. At that time, defendant identified a pretextual reason, to-wit, that Petitioner had

 promoted selling Arctic Sun for off-label uses and had allegedly violated a non-existent policy.*

 When Petitioner pointed out that defendant actively promoted, issued literature, and sales

 directives to sell Arctic Sun for off-label use, defendant responded that they were not really sure

 why the decision had been made, but that the decision had been made at a "high level". Indeed,

 following his termination, defendant mailed Petitioner a hat bearing the derogatory, age-based.

 logo,"silver-fox." Petitioner was replaced by a much younger individual.

                                                                           7.

          Petitioner shows Defendant failed to have in full force and effect an effective policy

 regarding age-based discrimination/harassment and reprisal/retaliation in the workplace:

 Defendant failed and/or refused to take any action to remedy the situation in Petitioner's work


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CertID: 2021071400131                                                 Deputy Clerk of Court                                                7/14/2021 8:42 AM




                 Alteration and subsequent re-filing of this certified copy may violate La. R.S. 14:132, 133, and/or RPC Rule 3.3(8)(3).
     Case 3:21-cv-00453-JWD-EWD                                      Document 1-2                    08/06/21 Page 4 of 8




 environment, failed              and/or refused to                      take any             action to             prevent the            age-based

 discrimination/harassment and/or retaliation/reprisal from occurring.

                                                                        • 8.

        As a result ofthe situation sued upon herein, Petitioner has sustained damages which include,

 but are not limited to, humiliation and embarrassment, severe and extreme emotional distress,

 mental anguish, past and future lost wages and benefits, past and future medical expenses, loss of

 earning capacity and job and all such other damages as will be more fully shown at trial and all for

 which Petitioner specifically sues for herein.

                                                                           9.

        Petitioner asserts the actions and deliberate inactions of defendant constitute illegal

 discrimination and harassment in violation of the Louisiana's Employment Discrimination Law,.

 La. R.S. 23:301, et seq., and the ADEA,29 U.S.C. §623(i). Petitioner also shows that defendant

 acted in retaliation for Petitioner's opposition to the age-based discrimination/harassment in his

 working environment, in violation of the ADEA and that defendant acted in reprisal pursuant to

 La. R.S. 23:967 on account ofPetitioner's opposition to the age-based discrimination/harassment

 in his working environment, for which he sues for herein.

                                                                          10.

           All conditions precedent to suit under the ADEA and Louisiana Law have been met and/or

 complied with. On March 31, 2021, Petitioner timely filed a Charge of Discrimination with the

 EEOC and LCHR and greater than sixty(60) days have passed since his Charge ofDiscrimination

 was filed. The EEOC has not yet issued Petitioner a Notice ofRight to Sue. Petitioner also shows

 that he, through his attorney;sent demand pursuant to La. R.S. 23:303 prior to the filing of this

 lawsuit.

                                                                          11.

          Petitioner contends defendant's actions were willfully and knowingly in reckless disregard

 for Petitioner's rights under the ADEA. Petitioner contends defendant is liable unto him for

 liquidated damages under the ADEA for which he sues for herein.

                                                                           12.

           Petitioner is entitled to and desires an award of attorney fees pursuant to the LEDL, the

  ADEA,and La. R.S. 23:967.




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                                                                                                                                             Generated Date:
   Correct Copy                                                      East Baton Rouge Parish
                                                                      Deputy Clerk of Court                                                 7/14/2021 8:42 AM
CertID: 2021071400131




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     Case 3:21-cv-00453-JWD-EWD                                      Document 1-2                     08/06/21 Page 5 of 8




                                                                          13.

        Petitioner is entitled to and desires an award of all litigation costs, legal interest on all sums

 from the date of demand until paid, and all such reliefto which he is entitled at law or in equity.



                                                                      . 14.

        Petitioner is entitled to and desires trial by jury of this matter.

        WHEREFORE,Petitioner, Paul Copeland, prays for trial by jury and after due proceedings

 are had that there be judgment herein in his favor and against defendant, Becton, Dickinson and

 Company, for all sums as are reasonable under the premises, liquidated damages as allowed by

 law, attorney fees, all costs of these proceedings, legal interest thereon from the date ofjudicial

 demand until paid, and all such other relief which he is entitled at law or in equity.

                                                                      Res c            fly s             ed,



                                                                       11 L. Craft, T.A., L Bar Roll No. 20922
                                                                     ' . Brett Conrad, Jr., a. Bar Roll No. 37639
                                                                         itlin A. Wall, La. B Roll No. 39462
                                                                     Jill Craft, Attorn at Law,LLC
                                                                     329 St.             Street
                                                                     Baton Rouge, Louisiana 70802
                                                                    (225)663-2612




 Please Serve:

 Becton, Dickinson and Company
 Through its Agent for Service ofProcess,
 CT Corporation System
 3856 Plaza Tower Drive
 Baton Rouge, Louisiana 70816




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 Certified True and
                                                                                                                                            Generated Date:
   Correct Copy                                                      East Baton Rouge Parish
CertID: 2021071400131                                                 Deputy Clerk of Court                                                7/14/2021 8:42 AM




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                   Case 3:21-cv-00453-JWD-EWD                                       Document 1-2                    08/06/21 Page 6 of 8
'EAST BATON ROUGE PARISH C-709550 \
  Filed Jul _13, 2021 10:13 AM
   Deputy Clerk'of Court
                               22




                                                         19TH JUDICIAL DISTRICT COURT
                                                         PARISH OF EAST BATON ROUGE
                                                               STATE OF LOUISIANA


                                                                                                                                      If
                                               NUMBER:                                           DIVISION:"


                                                                     . PAUL COPELAND
                                                                                   VERSUS
                                                    BECTON,DICKINSON AND COMPANY


                                                                           VERIFICATION
               STATE OF LOUISIANA
               PARISH OF EAST BATON ROUGE

                           BEFORE ME,the undersigned Notary Public personally came and appeared:
                                                                             Paul Copeland
                       A resident of the full age of majority f East Baton Rouge Parish, Louisiana, who upon
               being duly sworn, did depose and state that he i the Petitioner in the above and foregoing Petition,'
               that he has read same, and all facts and alle ati s contained therein are true and correct.




                           S 0          TO AND SUBSCRIBED before me, Notary Public, this                                                                  tc       of
                                            2021.




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                Correct Copy                                                        East Baton Rouge Parish
                                                                                     Deputy Clerk of Court                                                7/14/2021 8:42 AM
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                     Case 3:21-cv-00453-JWD-EWD                                Document 1-2                08/06/21 Page 7 of 8



RETURN COPY

                                                                                                                                                        D7019490

                                                                       CITATION

PAUL COPELAN                                                                            NUMBER C-709550 SEC. 22
(Plaintiff)
                                                                                        19th JUDICIAL DISTRICT COURT
VS
                                                                                        PARISH OF EAST BATON ROUGE
BECTON, DICKINSON AND COMPANY
(Defendant)                                                                             STATE OF LOUISIANA

TO:        BECTON, DICKINSON AND COMPANY
           THROUGH ITS AGENT FOR SERVICE OF PROCESS,
           CT CORPORATION SYSTEM,
           3856 PLAZA TOWER DRIVE
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                                                                              iWiii                    fftjy/ljM.

                                                                                                     Deputy Clerk of Court for
                                                                                                     Doug Welborn, Clerk of Court
Requesting Attorney: CRAFT, JILL L.
                     (225) 663-2612

*The following documents are attached:
PETITION, VERIFICATION
                                                              SERVICE INFORMATION:
Received on the____ day of               20___ and on the                          day of                      j 20            served on the above named party as
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DOMICILIARY SERVICE: On the within named                                            j by leaving the same at his domicile in this parish in the hands of
                     a person of suitable age and discretion residing in the said domicile at                                                 a
SECRETARY OF STATE: By tendering same to the within named, by handing same to                                                                   4*
DUE AND DILIGENT:                 After diligent search and inquiry, was unable to find the within named                   __________ -gjS^his domicile, or anyone
legally authorized to represent him.

RETURNED: Parish of East Baton Rouge, this                    day of                   ,20.
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SERVICE:!                                                                                                      5.®
MILEAGES                                                               Deputy Sheriff                      &
TOTAL: $                                                        Parish of East Baton Rouge

                                                                       CITATION-2000                                         '6*
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Case 3:21-cv-00453-JWD-EWD           Document 1-2   08/06/21 Page 8 of 8




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